         Case 1:24-bk-10228-VK      Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24             Desc
                                     Main Document    Page 1 of 8


         MICHAEL JAY BERGER (State Bar # 100291)
     1   LAW OFFICES OF MICHAEL JAY BERGER
     ,
         9454 Wilshire Boulevard, 6th Floor
         Beverly Hills, California 90212
         T: (310) 271.6223
         F: (3 10) 271.9805
         E: Michael.Bergerbankruptcypower.corn

         Proposed Counsel for Debtor-in-Possession
         Mr. Tortilla, Inc.
 6
 7                             UNITED STATES BANKRUPTCY COURT
 8         CENTRAL DISTRICT OF CALIFORNIA                   -   SAN FERNANDO VALLEY DIVISION
 9
10       In re:                                           ) CASE NO.: 1:24-BK-10228-VK
                                                          )
11                                                        ) Chapterli
         Mr. Tortilla, Inc.                               )
12                                   .         .          ) DECLARATION OF YATHIDA
                              Debtor-in-Possession.
13                                                     3)       NIPHA REGARDING SERVICE BY
                                                                EMAIL OF THE (1) DEBTOR’S
14                                                     )        NOTICE OF MOTION AND MOTION
15
                                                       )        IN CHAPTER 11 CASE FOR ORDER

16                                                    3)        AUTHORIZING DEBTOR TO
                                                                PROVIDE ADEQUATE ASSURANCE
                                                      )         OF PAYMENT TO UTILITY
                                                                SERVICE PROVIDERS Ill U.S.C. §
18                                                              366] (2) NOTICE OF HEARING ON
                                                      )         THE UTILITIES MOTION; (3)
19
                                                      )         ORDER SETTING THE UTILITIES
20                                                    )         MOTION FOR HEARING; AND (4)
21                                                    3)        SUPPLEMENTAL ZOOM NOTICE
                                                                OF HEARING
22                                                    )
23                                                    3     Date    February 29, 2024
24                                                          Time: 1:30p.m.
                                                            Ctrrn: 301 [via ZoornGovj
25                                                          Place: 21041 Burbank Blvd., 3rd Floor
26                                                    )            Woodland Hills, CA 91367
                                                      )
                                                      1

          DECLARATION OF YATHIDA NIPHA REGARDING EMAIL SERVICE OF THE HEARING ON
                                     UTILITIES MOTION
         Case 1:24-bk-10228-VK         Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24          Desc
                                        Main Document    Page 2 of 8



     1                           DECLARATION OF YATHIDA NIPHA

     2    I, Yathida Nipha. declare as follows:

                 1.   I am currently employed by Law Offices of Michael Jay Berger as a
     4
         paralegal. I am over the age of 18 and not a party to the within action. My business

    6    address is 9454 Wilshire Blvd., 6th Floor, Beverly Hills, California 90212. I have

         personal knowledge of the facts set forth herein and if called as a witness, I could and
    8
         would competently testify to those facts in a court of law.

10               2. On February 22, 2024, at 11:54a.m. p.m., I emailed the Debtor’s (1)
11       Emergency Motion In Chapter 11 Case For Order Authorizing Debtor To Provide
12
         Adequate Assurance Of Payment To Utility Service Providers [11 U.S.C. § 366)
13
14       (“Utilities Motion”); (2) Notice of Hearing on the Utilities Motion; (3) Supplemental

15       Zoom Notice of the Utilities Motion; and (4) Orders Setting the Utilities Motion for
16
         hearing on the following parties:
17
         U.S. Trustee:
18
         Katherine Bunker
19       ka{cbunkeruusdojjov


20       SoCalGas
         custoncrservlcc’(I)socaIgas.con1
21

22       Republic Services
         ccctirepuhEicscrvicescom
23
         Southern California Edison
2        ncthill’ sce.com
25

26

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          DECLARATION OF YATHIDA NIPHA REGARDING EMAIL SERVICE OF THE HEARING ON
                                     UTILITIES MOTION
         Case 1:24-bk-10228-VK            Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24   Desc
                                           Main Document    Page 3 of 8


          SECURED CREDITORS:

          8FIG Advance
     2
          Attn: Legal Dept.
     3    LcJ68ii.cni;

 4
     5    Amazon Capital Services:
          Attn: Lauren Dorsett & Michael Gearin
 6        au rendorsett.’d’dwt.com
          mikc.gcarin(klgatcs.com

          Blue Bridge Financial
 8
          Attn: Legal Dept.
 9        LeaVd’hluehridgelinancial.corn

10       Bluevine
         Attn: Officer
11       Sjppor1 u hluc\ inceom

12       jcarneypandbcapitaIq roup.com
13       Cedar Advance
         Attn: Simon Cedar
14
         smon(accdaradv ance.coju
15
         Corporation Service Company
16       SPRF I mgacscgIohaI.com

17       CT Corporation
         uceti_Iingic1urnawoltcrskluwcr.com

         Fasanara Securitisation S.A. Acting
19
         nfo’)northdata.com
20
         Financial Pacific Leasing
21       Attn: Allison Sweet
         ASveet( linPac.com
22
         First Corporate Resolution
23
         SPRS@FICOSO.COM
24
         Huntington Valley Bank
25       Attn: Erin
         ciii d bra a vo baii k c 01 11
26            -




         Mercury Capital
27       intl (/Iucu(l\ coin

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           DECLARATION OF YATHIDA NIPHA REGARDING EMAIL SERVICE OF THE HEARING ON
                                      UTILITIES MOTION
         Case 1:24-bk-10228-VK           Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24    Desc
                                          Main Document    Page 4 of 8


          Metropolitan Capital Bank & Trust
     1    Attn: Jeffrey Brown
 2        rrabin@thompsoncoburn.com ; j oj]cthompsoncohurn.corn; chansonaLhornpsoncohurn.corn

     3   Parkside Funding Group LLC
         Attn: Adriana Harris
 4       Adria(Zmomasi’ecovcrvconi

 5       Partners Personnel Management Services, LLC
         Attn: Clierly Canty
 6       CCant_tespererhüidins.com
 7
         Robert Reiser and Company
 8
 9       Sand Park Capital
         Attn: Simon Cedar
10       simou(icedaraclvaucc.com
11
         Sellers Funding
12       Attn: Officer
         osmo’a sellersli.coni
13
         Shopify Capital
14
         Lca lqjlucbi ijgtin mu i 1 om ustornerai e a       ebbank corn
15
         Slope Advance
16       Attn: Ashish Jam
         ashishaslopc.coin
17
18       Spartan Capital
         Attn: Jason Gang
19       asoWajason2ang.com

20       Stor RB One Limited
         uCc I I nte( urnawolterskIuwer.coiii
21
22                .

         U.S. Business Administration
23       Attn: Elan Levey
         clan. levey a)usdoj
24
25
26
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28


                                                        4

          DECLARATION OF YATHIDA NIPHA REGARDING EMAIL SERVICE OF THE HEARING ON
                                     UTILITIES MOTION
         Case 1:24-bk-10228-VK       Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24         Desc
                                      Main Document    Page 5 of 8


                I declare under penalty of perjury that the foregoing is true and correct. Executed
     1
 2       this 22h1( day of February 2024, at Beverly Hills, California.
 3
 4
 5
                                                    By:
 6                                                         YatTiid9ipha


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         DECLARATION OF YATHIDA NIPHA REGARDING EMAIL SERVICE OF THE HEARING ON
                                    UTILITIES MOTION
        Case 1:24-bk-10228-VK         Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24                Desc
                                       Main Document    Page 6 of 8

Yathida Nipha

To:                               kate.bunker@usdoj.gov; customerservice@socalgas.com; netbilI@sce.com;
                                  ccet@republicservices.com; Iegal@Bfig.com; Iaurendorsett@dwt.com;
                                  mike.gearin@klgates.com; Legal@bluebridgefinancial.com; Support@bluevine.com;
                                 ‘simon@cedaradvance.com; SPRFiling@cscglobal.com;
                                  uccfilingreturn@wolterskluwer.com; info@northdata.com; ASweet@FinPac.com;
                                 SPRS@FICOSO.COM; erin@braavobank.com; info@mcadv.com;
                                  rrabin@thompsoncoburn.com; brown@thompsoncoburn.com;
                                 Adriana@nomasrecovery.com; CCanty@espererholdings.com; osaro@sellersfi.com;
                                 ashish@slope.com; ason@jasongang.com; elan.levey@usdoj.gov
Cc:                              Sofya Davtyan; Michael Berger
Subject:                         RE: Mr. Tortilla, Inc. Hearing on Utilities Motion Set for 2/29/2024 at 1:30 p.m.



From: Yathida Nipha
Sent: Thursday, February 22, 2024 11:54 AM
To: ‘kate.bunker@usdoj.gov <kate.bunker@usdoj.gov>; ‘customerservice@socalgas.com’
<customerservice@socalgas.com>; ‘netbill@sce.com’ <netbill@sce.com>; ‘ccet@republicservices.com’
<ccet@republicservices.com>; ‘Iegal@8fig.com’ <Iegal@8fig.com>; ‘laurendorsett@dwt.com’
<laurendorsett@dwt.com>; ‘mike.gearin@klgates.com’ <mike.gearin@klgates.com>; ‘Legal@bluebridgefinancial.com
<Legal@bluebridgefinancial.com>; ‘Support@bluevine.com’ <Support@bluevine.com>; ‘simon@cedaradvance.com
<simon@cedaradvance.com>; ‘SPRFiling@cscglobal.com <SPRFiling@cscglobal.com>;
 uccfilingreturn@wolterskIuwer.com’ <uccfilingreturn@wolterskluwer.com>; ‘info@northdata.com’
<info@northdata.com>; ‘ASweet@FinPac.com’ <ASweet@FinPac.com>; SPRS@FICOSO.COM <SPRS@FICOSO.COM>;
‘erin@braavobank.com <erin@braavobank.com>; ‘info@mcadv.com <info@mcadv.com>;
 rrabin@thompsoncoburn.com’ <rrabin@thompsoncoburn.com>; ‘jbrown@thompsoncoburn.com’
<jbrown@thompsoncoburn.com>; ‘Adriana@nomasrecovery.com <Adriana@nomasrecovery.com>;
‘CCanty@espererholdings.com <Ccanty@espererholdings.com>; ‘osaro@sellersfi.com <osaro@sellersfi.com>;
‘ashish@slope.com <ashish@slope.com>; ‘jason@jasongang.com’ <jason@jasongang.com>; ‘elan.levey@usdoj.gov
<elan. levey@ usdoj .gov>
Cc: Sofya Davtyan <Sofya.Davtyan@bankruptcypower.com>; Michael Berger <Michael.Berger@bankruptcypower.com>
Subject: Mr. Tortilla, Inc. Hearing on Utilities Motion Set for 2/29/2024 at 1:30 p.m.

To the United States Trustee, Secured Creditors and Utility Service Providers:

       PLEASE TAKE NOTICE that the hearing on Debtor’s Emergency Motion In Chapter 11 Case for

Order Authorizing Debtor To Provide Adequate Assurance of Payment to Utility Service Providers [11 U.S.C. §

366] will take place on February 29, 2024 at 1:30 p.m. in Courtroom 301 of the above-referenced Courthouse

located at 21041 Burbank Blvd., 3’ Fl., Woodland Hills, California 91367.

       PLEASE TAKE FURTHER NOTICE that any oppositions and replies may be made orally at the

hearing. Attached with this email please find, 1. Utilities Motion. 2. Notice of Hearing, 3. Supplemental Notice

of Hearing; and 4. Order Setting Hearing on Shortened Notice.


                                                        1
         Case 1:24-bk-10228-VK               Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24                           Desc
                                              Main Document    Page 7 of 8
         The hearing will be held remotely via ZoomGov

Join CACB ZoornGov Meeting Video/audio web address:
https://cacb.zoomgov.com/j/ 161 821 8496
Meeting ID: 161 821 8496
Password: 088603
Join by Telephone
Telephone conference lines: 1-669-254-5252 OR 1-646-828-7666
Meeting ID: 161 821 8496
Password: 088603




Thank you,

Yathida Nipha-Roshan
Paralegal to Attorney Sofya Davtyan
Law Offices of Michael Jay Berger
9454 Wilshire Boulevard, 6th Floor
Beverly Hills, CA 90212-2929
Tel. (310) 271-6223
Fax (310) 271-9805
Website www.bankruptcvpower. corn

CONFIDENTIALITY NOTICE: The following message is intended only for the use of the individual or entity to which it is addressed
and may contain information that is privileged, confidential and exempt from disclosure under applicable law. I/the reader oJ’this
message is not the intended recipient, you are hereby notUied that any disse,’nination, distribution or copying of this communication is
strictly prohibited. Ifyou have received this communication in error, please not i5.’ us immediately by replying to the sender of thi.r
communication or by telephone at (310) 271-6223.




                                                                   2
            _________________,

           Case 1:24-bk-10228-VK                   Doc 29 Filed 02/22/24 Entered 02/22/24 18:48:24                                      Desc
                                                    Main Document    Page 8 of 8


                                           PROOF OF SERVICE OF DOCUMENT

 I am over the age of 18 and not a party to this bankruptcy case or adversary proceeding. My business address is:
 9454 Wilshire Blvd., 6th Fl., Beverly Hills, CA 90212


 A true and correct copy of the foregoing document entitled (specify): DECLARATION OF YATHIDA NIPHA
 REGARDING SERVICE BY EMAIL OF THE (1) DEBTOR’S NOTICE OF MOTION AND MOTION IN
 CHAPTER 11 CASE FOR ORDER AUTHORIZING DEBTOR TO PROVIDE ADEQUATE ASSURANCE OF
 PAYMENT TO UTILITY SERVICE PROVIDERS Ill U.S.C. § 366] (2) NOTICE OF HEARING ON THE
 UTILITIES MOTION; (3) ORDER SETTING THE UTILITIES MOTION FOR HEARING; AND (4)
 SUPPLEMENTAL ZOOM NOTICE OF HEARING will be served or was served (a) on the judge in chambers in
 the form and manner required by LBR 5005-2(d); and (b) in the manner stated below:

 1. TO BE SERVED BY THE COURT VIA NOTICE OF ELECTRONIC FILING (NEF): Pursuant to controlling General
 Orders and LBR, the foregoing document will be served by the court via NEF and hyperlink to the document. On (date)
 2/22/2024, I checked the CM/ECF docket for this bankruptcy case or adversary proceeding and determined that the
 following persons are on the Electronic Mail Notice List to receive NEF transmission at the email addresses stated below:

 Debtor’s Proposed Counsel: Michael Jay Berger                   michael.bergerbankruptcypower.com,
 vatlIda.nipha!bankruptcypover.corn :rii ichael berger(iecf. in l’oruptcv.com
                                                           .




 US, Trustee: Katherine Bunker  katc.huncri)usdoj.ov
United States Trustee (SV)            ustpregion 1 6.wh .ecf@usdoj .go’


                                                                                            Service information continued on attached page

2. SERVED BY UNITED STATES MAIL:
On (date)                       I served the following persons and/or entities at the last known addresses in this bankruptcy
case or adversary proceeding by placing a true and correct copy thereof in a sealed envelope in the United States mail,
first class, postage prepaid, and addressed as follows. Listing the judge here constitutes a declaration that mailing to the
judge will be completed no later than 24 hours after the document is filed.


                                                                                       D Service information continued on attached page
3. SERVED BY PERSONAL DELIVERY, OVERNIGHT MAIL, FACSIMILE TRANSMISSION OR EMAIL (state method
for each person or entity served): Pursuant to F.R.Civ.P. 5 and/or controlling LBR, on 2/22/2024, I served the following
persons and/or entities by personal delivery, overnight mail service, or (for those who consented in writing to such service
method), by facsimile transmission and/or email as follows. Listing the judge here constitutes a declaration that personal
delivery on, or overnight mail to, the judge will be completed no later than 24 hours after the document is filed.

Honorable Victoria Kaufman
United States Bankruptcy Court
Central District of California
21041 Burbank Boulevard. Suite 354 / Courtroom 301
Woodland Hills, CA 91367 United States Bankruptcy Court

                                                                                           Service information continued on attached page

I declare under penalty of perjury under the laws of the United States that the foregoing is true and correct.

 2/22/2024                      Peter Garza                                                    Is/Peter Garza
 Date                          Printed Name                                                     Signature
           This form is mandatory. It has been approved for use by the United States Bankruptcy Court for the Central District of California.


June2012                                                                                           F 901 33.1.PROOF.SERVICE
